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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-160V
                                       Filed: March 4, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
LYNN BAYLESS, on behalf of STEVEN      *
BAYLESS, as his successor in interest, *
                                       *                      Special Master Hamilton-Fieldman
            Petitioner,                *
                                       *                      Joint Stipulation on Damages;
v.                                     *                      Tetanus-Diptheria-Pertussis
                                       *                      (“Tdap”) Vaccine; Neurological
SECRETARY OF HEALTH                    *                      Injury.
AND HUMAN SERVICES,                    *
                                       *
            Respondent.                *
* * * * * * * * * * * * * * * *

Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner.
Gordon Shemin, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

       On February 28, 2014, Steven Bayless 2 filed a petition pursuant to the National Vaccine
Injury Compensation Program. 3 42 U.S.C. §§ 300aa-1 to -34 (2006). Mr. Bayless alleged that,
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
 Mr. Bayless passed away during the pendency of the case. The case caption was subsequently
amended to reflect the fact that his widow, Lynn Bayless, would be continuing his claim as his
successor in interest. See Order, filed June 11, 2014.
3
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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as a result of the administration of a tetanus-diptheria-pertussis (“Tdap”) vaccine on July 2, 2012,
he suffered from lymphomatoid granulomatosis. Petitioner later amended his claim to reflect
acute demyelinating polyneuropathy as his alleged injury. See Amended Petition, filed
September 19, 2014.

        On March 3, 2015, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that Mr. Bayless suffered any injury as a
result of the Tdap immunization administered on July 2, 2012, and denies that Mr. Bayless’
death was a sequela of any vaccine injury. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

      The parties stipulate that Petitioner, Lynn Bayless, shall receive the following
compensation:

       A lump sum of $30,000.00, in the form of a check payable to Petitioner, Lynn
       Bayless, as legal representative of the estate of Steven Bayless. This amount
       represents compensation for all damages that would be available under 42 U.S.C. §
       300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 4

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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